Case 8:94-cr-00293-EAK-TBM Document 669 Filed 05/18/17 Page 1 of 28 PagelD 774

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UNTED.. STATES DISTRICT __.CCUR TINTHAY18--PH 122-5

o MIDDAE.. DISTRICT —_ Of FLORIDE TAMA __cicivoicte ep

MIDDLE uISTRICT OF FLORI
TAMPA. FLORIDA A -

 

 

 

 

 

 

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a chaz fo. CITCV-1 Ig! -T-ITTEM __
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_ __ MOTION. VACATE, SET. ASIDE, ne

OR CORRECT. SEWTEME, PLUS CLAD

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_ RESPECTRULLY ASKS. DS HONORA BLE CORT TO. CRINT ALS SECOND G2
WCCESSIVE 2255 ; TD. VACATE, SET ASIPE FHHE_ VOGEMENT AND...
“SENTENCE IST CoT 7. (Sen) OFTHE INDICTMENT, AND TO
_RESENTENCE MOVANT. ACCORDING. TO LAW AND 1A 7 Tlie INTEREST TOF

 

 

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_AND. SENTENCE BE VACATED JS. TO_COUNT. SEVEN _(Z)_OF THE INDICTMENT, -
MWUS.C.. F2u,(c). HUS_¢ CONVICTICN AND. SENTENCE WAS. PERIVED FROM __
THE COMA NION.,. COUNT. Far. (A), ATTEMPTED HOBBS . ACT... KOBBERY. OF_ THE.
“INDICTMENT, 1% 08,0. IF51(e) a
___ TW Fie, ob OIG, .THE_U: $ SUPREME COURT. “WAS. STRUCK. DOWN. FE
RESIDUAL..CLAUSE OF THE MEMED CAREER. CRIMINAL... ACT. (cA).
12 USC. 9.24 (6) AS. CONSTITOTINALLY. VAGUE, JOHNSON, Von US,
“5IG_US, [55 8.04 2S51, 192 b. Fd. BA. SEUPOMNS).
ON. VOLY 2Y, AIG. , THE ELEVEN. CIRCUIT... COVET_ OF -APFEAL_
“HAS. GRANTED _ MOWANT.. AELMISSION. To. FILE A SECOND OR SUCCUSSIVE”
29 USC. 2255. SEEKING RELIEF AS TO CONT. SEVEN (7) OF. TIE...
_INDICTMENT. PASEP ON. THE. CART ‘S_RULING FRAT. ATTEMPTED HOPES
ACT. LOPEERY., LOSE. JIS 1 (c), JIS NOT. 4. CRIME OF VIOLENCE UNDER _
MOSK. FL [C.).. THEREFORE, MOMNT. IS ENTITLED. PME AS FO
COUNT. SAIN | 2.) IB V8.0. Gaul c ) OF THE INNCTMENT-. DUE TO. FA.
_COMPANION COUNT. Fuk (4. OF THE | NDICTMENT. {LEASE SE ORDER

 

 

 

CASE NO, IG = IAG SS = Nn i

 

 
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. BACKGROUND OF CASE.

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ON. MARCH. 1, 199G., “MOVANT. WAS. OND. uit APTER A TRY
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_.COINT..1), eMensies IN A PATTERN OF PACK ETEERING Act a a
_ AIE2C). a oe
CMT. 3). CONSPIEACY. TO ENGAGE tl 4 PATTERN OF. = RACKETEERING, WE ORC.
[Re2(d).. oe oe

_CowT 3) conSPIRAeY. JO INTEFERE wil. COUMERCE OY. POBBERY., BULLE.

a AGS (a)... oo, _ ne
COUNT. 4) ATIEMCEED. JBI. AT. ROBBERY, 12 ¢ U.S. C. 9Si(e), ee

Com 5). INTERFERING WITH COMMERLE . BY OBES ACT. FCBRERY ISOS
ABU G) i. On
COUNT G): ENIERFERING WITH COMMERCE by ULES MT ROLE PEERY. LO, ee,
IGG) - oe
CINWT.7, 8 FF USING A FREAD Due, , W €ELITION TO A
ne CRIME. OF MOLENCE IS U.S.C, Terhy (<) — ee

 

ee _ON. TOY IG., 199G., VORGE.  TOUAS. WISEMAN, RQ. “GEMIENCED.__
| MOUNT. TO. LIE PLUS. FORTY - PINE (45) Con CUTIVE YEACS IN
__ PRISON. Oe
ON ONE 28, 19GY,,. THE. ELEVENTH CRCUT. COURT._OF

_DPPEAL. AFFIRMED. ALL. NINE. (4) CouTS. OF MOVANT!S. COMMICTIONS...
ON. NOY AL, A2QIG,, THE. FLEVENTH. ClLCUT . COURT. OF. APPEAL.
WAS GRANTED (. WW PCT) MOWINT PERMISSION TO. FILE... SECOND. OL.
SUCCESSINE. 28 O80, ALSS . SEE. ORDER CASE: le - ILCSS-4 V_

 

 

 

 

 

 

 

 
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— VEMORANDUM OF. POINTS. AND... AUTHORITIES 2 2

 

 

 

 

ee _ON. TONE, eAQIB THE US. SU REME. COURT HAS “TRUK POW
HE. BEUDUAL_¢ CLAUSE OF THE. ARMED CAREER CRIMINAL. ACT(AC. cA),
1S 0.8.0. G24 ¢.) DS ConST TUTINALLY. VAGUE, YOHNSON, Mi. UeS8.., STE
(US. a IBS S, Ct 255), IGR L.Ed. ad. 69 nas). AND
ON. Arer_18. LOI HAS. MADE. YOUNSON TO. BE RETROACTIVE FOR - -
COMATERAL. REVIEW UNDER..WELCH No nS. IBC SCALES Zt.
_L. Ed. 2d. 507. — ee
MOVANT. HAS TIMELY . FILED. FOR. > AN. APPACATION. (SEEKING. ae
“PERMISSION. WIE WHE E22E\ENTA ROUT... COURT. OF AVFEAL TO...
FILE A SECOND OL SUCCESSIVE 2 USC, A255... fURLUANT. R26.
U8 C..22 55 (h) cd at2AA (b) (3) (A “a.) _ oe
. ON. THY 2%, AOS , THE ELE NTH. COUT. C2URT. QF
AREAL, MAS. Created (ual PART) MOMANT. PERaISSIN TOPE. A SECOND
OR SUCCESSIVE 29 US.C. 2255 MOTION SEEKING RELIEF AS TO.
conT seven! (7), 12 U8, SL. Gah. “€} OF THE INDICTMENT... SEE ORDER.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASE. No. IG- 4G DS -. a ee ee ne et
nr . ; —— - |

 

 

 

 
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rier

MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, RICMRAECT aukielce BY
A PERSON IN FEDERAL CUSTODY

fict UF FLoRidA
rire ISU ORIDA

United States Distri MIDDLE DISTUUCT OF FLORIDA,

District Court ct TAMPA. .
Name (under which you were Docket or |
convicted) :CONGHAU U. TO Case No.: ¥>G4-CR-9002GK-EAKR-TBM-1
Place of Prisoner
Confinement: U.S.f, LEWISBURG  No.: IV7A2~ O11”

UNITED STATES OF Movant (include

AMERICA name under which

convicted)
Vv.

CONGIHAG HU TO

MOTION

1. (a) Name and location of court that entered the judgment of conviction you are challenging:
MiIbDiME DISTRICT
QE FAQUDA ,
TAMPA

(b) Criminal docket or case number (if you know): g: Oh -C£-002935-EAK- TAM- |

2. (a) Date of the judgment of yy yop x ye know): _ > / / [ LGGG
(b) Date of sentencing: LL ef 195

3. Length of sentence: ,yFv= ANN FORTY. FIVE (4 S :) YEARS

4. Nature or crime (all counts):

  
  

I )IPU.SC IGE LCS), 12 0.8.2. 19S Ka),
AA ETO OO OS 9310), IPOS. 19576), (Dieu.s.e. Gwe),

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5. (a) What was your plea? (Check one)

who guilty (2) Guilty (3) Nolo contendere (no contest)
(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or

indictment, what did you plead guilty to and what did you plead not guilty to?

 

 

 

 

 

6. If you went to trial, what kind of trial did you have? (Check one) Wh Judge only
7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes no
8. Did you appeal from the judgment of conviction? wh No

9. If you did appeal, answer the following:

(a) Name of court: =-EvEN TE Cl2Cr yr 7 COURT, OF APPEAL
(b) Docket or case number (if you know): 76- . 7357 ( IGG P)

(c) Result: feat ityou kon Le Nb SENTENCES
(d) Date of result (if you know):__- 6 A2Y [eee

(e) Citation to the case (if you know): j44, & 30/, 737 £ LZ P)

(f) Grounds raised: VARA NCE JN CONSPIPACIES

INSUFF/ CIENCY OF EVIDENCE

DE NAL OF SEVERANCE

ECLOK IN ADMISSION OF TESTIMONY

EXLOR IN SENTENCING OF 2A/. 1 /

 

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes

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If “Yes,” answer the following:
(1) Docket or case number (if you know): N L A

(2)Result: ov / A

 

 

 

 

w/a
/
(3) Date of result (if you know): u/s
(4) Citation to the case (if you know): N, /, A
(5) Grounds raised: N L A

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10. Other than the direct appeals listed above, have you previously filed any other motions, petitions,
or applications concerning this judgment of conviction in any court?

ve6 No

11. If your answer to Question 10 was “Yes,” give the following information:

(a)(1) Name of court: DISTRICT CowRT MIDPLE OF FLORIDA | TAMPA

(2) Docket or case number (if you know): 99 - (L357. CIV- T- 17 &
(3) Date of filing (if you know): Gas / GG
(4) Nature of the proceeding: MOT/ON JO VACATE 2° U.S.C, 22ST

(5) Grounds raised: _ fELPREP FESTIMONY OF CODEFENMANT

 

 

 

 

INEFFECTIVE ASSISTANCE OF COUNSEL
410cr 4

 

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(6) Did you receive a hearing where evidence was given on your mation, petition, or application?
Yes nd
(7) Result: DE WiAL

(8) Date of result (if you know): iohe | 2e00
(b) If you filed any second motion, petition, or application, give the same information:

(1) Name of court: EAE Ven TH Cicer COURT OF APPEAL

(2) Docket or case number (if you know): /G - 14G SS - 7

(3) Date of filing (if you know): 6/3 pore

(4) Nature of the proceeding: APRUCATION FO FILE SECONWD y SUCCESSIVE 22. 255

(5) Grounds raised: _YOAN SOW, “¢ ACA.

 

 

 

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(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes wh

(7) Result: (2ANTES IN ALT DENMED IN FART

(8) Date of result (if you know): z/r0f, LAG
(c) Did you appeal to a federal appellaté court having jurisdiction over the action taken on your motion,

petition, or application?

{1) First JY No
e

petition:

(2) Second
petition:

nok uw

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you
did not:
CURRENT

 

 

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12. For this motion, state every ground on which you claim that you are being held in violation of the
Constitution, laws, or treaties of the United States. Attach additional pages if you have more than

four grounds. State the facts supporting each ground.

GROUND ONE: /f U,S8.C, 924 Gis NOT CRIME OF VIOLENCE , COUNT

SVE

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

 

 

 

 

 

 

NITIAL. = OF ATIEMVPTED ROPRBERY IS NOT CLIME OF
VIOLENCE FER SURREME coukT 's DECISION IN YOHASOn,
COUNT FOUR

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(b) Direct Appeal of Ground One:

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes no

(2) If you did not raise this issue in your direct appeal, explain why: N L 4

 

 

(c) Post-Conviction Proceedings:
v /

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes uh

(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: al /; A

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Name and location of the court where the motion or petition was filed: uf. A
Docket or case number (if you know): N L 4

Date of the court's decision: wl A

Result (attach a copy of the court's opinion or order, if available): A L A

 

 

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes 4

(4) Did you appeal from the denial of your motion, petition, or application?

Yes nf

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?

Yes nd.

(6) If your answer to Question (c)(4) is “Yes,” state:

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Name and location of the court where the appeal was filed: Al [; A

 

Docket or case number (if you know): N L 4
Date of the court's decision: N f A

Result (attach a copy of the court’s opinion or order, if available): N / A

 

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise
this issue:

 

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GROUND TWO: N / A

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(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

ila

 

 

 

 

 

 

 

(b) Direct Appeal of Ground Two:

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes No

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(2) If you did not raise this issue in your direct appeal, explain why:

 

 

(c) Post-Conviction Proceedings:

u/s

v/a
/

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes No
(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: N L A

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know): N / A.
Date of the court’s decision: uf A

Result (attach a copy of the court's opinion or order, if available):

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(3) Did you receive a hearing on your motion, petition, or application?

Yes wh

(4) Did you appeal from the denial of your motion, petition, or application?

Yes yo

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes nh

(6) If your answer to Question (c)(4) is “Yes,” state:

 

 

 

 

 

Name and location of the court where the appeal was filed: NV Le A
Docket or case number (if you know): ul A

Date of the court's decision: N L A

Result (attach a copy of the court’s opinion or order, if available): uf A
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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise
this issue:

 

—_—

Calpeen FT

 

 

 

GROUND THREE: La

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

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/

 

 

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(b) Direct Appeal of Ground Three:
d/ A

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes af

(2) If you did not raise this issue in your direct appeal, explain why: CLE LENT

 

 

(c) Post-Conviction Proceedings:

u/A

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(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes nh

(2) If your answer to Question (c)(1) is “Yes,” state:

 

 

 

 

 

Type of motion or petition: N [ A

Name and location of the court where the motion or petition was filed: N L A
Docket or case number (if you know): N. [ A

Date of the court's decision: N / A

Result (attach a copy of the court's opinion or order, if available): N / A

 

 

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes nh.

(4) Did you appeal from the denial of your motion, petition, or application?

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Yes wh,

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?

Yes wo.

(6) If your answer to Question (c)(4) is “Yes,” state:

 

 

 

 

Name and location of the court where the appeal was filed: Ni L A
Docket or case number (if you know): UL A

Date of the court's decision: Ls 4A

Result (attach a copy of the court's opinion or order, if available): Vd L A

 

 

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise
this issue:

 

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GROUND FOUR: u/ A

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

w/a.
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(b) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes nb

(2) If you did not raise this issue in your direct appeal, explain why: ___ CU RE NT

 

 

(c) Post-Conviction Proceedings:
u/s

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes no

(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: uf A

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Name and location of the court where the motion or petition was filed: uf. A
Docket or case number (if you know): Nv, L A

Date of the court's decision: N L A

Result (attach a copy of the court’s opinion or order, if available): N Ls A

 

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes WA

(4) Did you appeal from the denial of your motion, petition, or application?

Yes vl,

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?

Yes h

(6) If your answer to Question (c)(4) is “Yes,” state:

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Name and location of the court where the appeal was filed: w L, LA

 

Docket or case number (if you know): N [ 4
Date of the court's decision: it v A

Result (attach a copy of the court's opinion or order, if available): N L A

 

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise
this issue:

 

CULRENT

 

 

 

13. Is there any ground in this motion that you have pot previously presented in some federal court? If
so, which ground or grounds have not been presented, and state your reasons for not presenting

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them:

 

 

 

 

 

 

 

Do you have any motion, petition, or appeal now bending (filed and not decided yet) in any court
for the judgment you are challenging? Yes
if “Yes,” state the name and location of the court, the docket or case number, the type of
proceeding, and the issues raised.

 

 

 

 

 

Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment you are challenging:

 

 

 

 

 

 

 

 

 

 

(a) At preliminary hearing: bAvje. casTizALO
(b) At arraignment and plea: SAME

(c) At trial: SAME

(d) At sentencing: CAME

(e) On appeal: SAM

(f) In any post-conviction proceeding: aif A

 

(g) On appa from any ruling against you in a post-conviction proceeding:
N/A

 

 

 

Were you sentenced on more than one coyh of an indictment, or on more than one indictment, in
the same court and at the same time? No

22

 

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17. Do you have any future content to serve after you complete the sentence for the judgment that
you are challenging? Yes

(a) If so, give name and location of court that imposed the other sentence you will serve in the
future:

 

 

(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence:

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the
judgment or sentence to be served in the future? Yes No

 

 

18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you

must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not
bar your motion. *

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SELON, SUCCESSIVE, RASS . PERMISSION GRANTED BY THe

CLEVENTH CyeCUIT OF APPEAL COUe-T
Therefore, movant asks that the Court grant the following relief: VACATE VuRpe=MeEnT AND SENTENCE
410cr 23

 

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GE CONT SEVEN AND RESENTENCE

 

or any other relief to which movant may be entitled.

 

Signature of Attorney (if any)

| declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Motion Under 28 U.S.C. § 2255 was placed in the prison mailing system on
5 Ll {7 (month, date, year).

Executed (signed) on D/ 10 £2017 (date).
eine of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not
signing this motion.

 

 

 

Footnotes

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